    Case 2:19-cv-14234-GGG-DMD                Document 53        Filed 05/11/22       Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

RANDOLPH WILLIAMS III                                                           CIVIL NO. 19-12841
                                                                                c/w 19-14234

VERSUS                                                                          SECTION: T(3)

ALEJANDRO MAYORKAS, SECRETARY,
DEPARTMENT OF HOMELAND SECURITY


                                               ORDER

        The Court having been advised by the Magistrate Judge (R. Doc. 126) that the parties stipulate

to the voluntary dismissal without prejudice of all claims asserted by the Plaintiffs in the

above captioned lawsuits, Civil Action No. 19-2841 and Civil Action No. 19-14234,

        IT IS ORDERED that these actions are hereby dismissed without costs, but without prejudice

to the right upon good cause shown, to reopen or to seek summary judgment enforcing the compromise

if settlement is not consummated within sixty (60) days. During this sixty-day period, the Court retains

jurisdiction for all purposes, including enforcing the settlement agreement entered into by the parties.

        New Orleans, Louisiana, this 11th day of May, 2022.
